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                      EXHIBIT B
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   Appendix2: Bmails
   Email I
   Correspondence with Jason Kessler



   May 10,2017




                                                                    lv€dnB6day, May 10, a017. 4:50 pM


                                                                      Speaking at UVA
                                                             by   Json l(dslor I iaso@unityondsecurity.org

           Hi Rkhard.

           whlls you're in charletlesvills we should talk sbout getliog you h to spssk qt UvA (ityou
                                                                                                     don,t ah€ady havs trrargemsnts),
           lh     bjnging in Jared Taylor li6l aE parrol acourt trdBred cornmunity 6€'vlcs program l ve d4ided to do
                                                                                                                     lor             Nfl   century
           Foundalion.

           I think il     would be a.p{erly hilariouo silualion aller lho.stir the upcomh€ Lee tally will caus6   ad
           my     cowunity seflico
                                                                                                                       tha libsral6 lindtng out I   m   uetng
                                        hours to bing right-wing spebl€rs to UVA,

           ll   y-o-u   would be intEr€sled we can plck a dalg beginning ln the Fall   ssmstet   and rutnring trom August 28. 2017       lhrolgh May rSth
           20r B.


           R€gardg,

           Jq$n Ks6slsr, Presidgnt
           Unity & S6urity tor Amorica




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